      Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
                                               §
vs.                                            §     CRIMINAL ACTION NO. 4:15-cr-00266
                                               §
KYE RUE,                                       §
                                               §
              Defendant.                       §

           MEMORANDUM AND RECOMMENDATION ON DEFENDANT’S
                  MOTION TO DISMISS THE INDICTMENT

       This matter was referred by United States District Judge Lee H. Rosenthal, for a

memorandum and recommendation, pursuant to 28 U.S.C. § 636(b)(1)(A) and (B). (Docket

Entry No. 76). Defendant Kye Rue [“Rue”] was indicted on one count of conspiracy to interfere

with interstate commerce, by robbery, in violation of the Hobbs Act, 18 U.S.C. § 1951(a); three

substantive counts of Hobbs Act violations; and three counts of possessing, using, carrying, and

brandishing a firearm in furtherance of a crime of violence, in violation of 18 U.S.C. § 924(c).

(Indictment, Docket Entry No. 44). Before the court is Defendant’s Motion to Dismiss the

Indictment, for lack of jurisdiction, under Federal Rule of Criminal Procedure 12(b). (Motion to

Dismiss Indictment [“Motion”], Docket Entry No. 62). The Government has filed a response in

opposition to that motion.     (Government’s Response to Defendant’s Motion to Dismiss

Indictment [“Response”], Docket Entry No. 80).            For the following reasons, it is

RECOMMENDED that Defendant’s motion be DENIED.

I. Background

       This case arises out of a series of armed robberies, which were committed in January

2015, at businesses in Harris County, Texas. According to the Indictment, on January 9, 2015,
      Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 2 of 11



Rue and three other individuals entered the Cash America Pawn shop in Humble, Texas, and

“robbed the business at gunpoint, stealing $2,445[.00] in currency.” (Resp. 1; see Indictment 3-

4). Five days later, on January 14, 2015, Rue and his alleged accomplices reportedly entered the

Jet Pawn shop in Spring, Texas, brandished firearms, and demanded and received $2,687.00 in

cash, nineteen “jewelry envelopes,” and twenty-five firearms from the clerk on duty. (Resp. 1-2;

see Indictment 5). Finally, the Government alleges that, on January 29, 2015, Rue and his

accomplices attempted to rob, at gunpoint, the Mad Dog Smoke Shop in Humble, Texas. (Resp.

2; see Indictment 6-7). A store employee reportedly “foiled” the robbery, by firing a gun at the

intruders. (Resp. 2).

        On May 20, 2015, a federal grand jury in the Southern District of Texas returned a seven-

count indictment against Rue, and five co-defendants.1                 (Indictment 1-8).       The Indictment

charges this defendant with one count of conspiracy to interfere with commerce by robbery, in

violation of the Hobbs Act, 18 U.S.C. § 1951(a); three counts of aiding and abetting others in

robbing or attempting to rob Cash America Pawn, Jet Pawn, and Mad Dog Smoke Shop, in

violation of the Hobbs Act; and three counts of using firearms in connection with those

robberies, in violation of 18 U.S.C. § 924(c). (Id.).

        On June 28, 2015, Rue filed this Motion to Dismiss the Indictment, on the grounds that

the robberies alleged do not have a sufficient impact on interstate commerce to satisfy the

jurisdictional element of the Hobbs Act. (Mot. 5). Defendant argues, in the alternative, that the

Hobbs Act is an unconstitutional exercise of Congress’s authority under the Commerce Clause of

the United States Constitution. (Id.).




1. The other defendants named in the Indictment are Alonzo Flowers; Jerrieus Williams, aka Jerrius Williams;
Andra Coleman, aka Andre Coleman; and Paul McCoy, Jr. (See Indictment).
                                                        2
     Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 3 of 11



II. Standard of Review

       Federal Rule of Criminal Procedure 12(b) permits a defendant to contest a court’s

jurisdiction in a pre-trial motion to dismiss the charging instrument. See Fed. R. Crim. P.

12(b)(2), (b)(3)(B). In evaluating a motion to dismiss under Rule 12(b), a court must accept, as

true, all factual allegations contained in the indictment. United States v. Fontenot, 665 F.3d 640,

644 (5th Cir. 2011) (citing United States v. Hogue, 132 F.3d 1087, 1089 (5th Cir. 1998)). It must

be emphasized, however, that “a defendant may not properly challenge an indictment, sufficient

on its face, on the ground that the allegations are not supported by adequate evidence.” United

States v. Mann, 517 F.2d 259, 267 (5th Cir. 1975) (citing Costello v. United States, 350 U.S. 359,

363 (1956)); see United States v. Jensen, 93 F.3d 667, 669 (9th Cir. 1996) (“A motion to dismiss

the indictment cannot be used as a device for a summary trial of the evidence.”). But a court

“may make preliminary findings of fact necessary to decide the questions of law presented by

pre-trial motions so long as the court’s findings on the motion do not invade the province of the

ultimate finder of fact.” United States v. Flores, 404 F.3d 320, 324 n. 6 (5th Cir. 2005) (quoting

United States v. Shortt Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986)).

       In the Fifth Circuit, “[a]n indictment is sufficient if it contains the elements of the

charged offense, fairly informs the defendant of the charges against him, and ensures that there is

no risk of future prosecutions for the same offense.” United States v. Thomas, 348 F.3d 78, 82

(5th Cir. 2003) (quoting United States v. Sims Bros. Constr., Inc., 277 F.3d 734, 741 (5th Cir.

2001), reh’g denied, 31 F. App’x 837 (5th Cir. 2002)). “The test for validity is not whether the

indictment could have been framed in a more satisfactory manner, but whether it conforms to

minimal constitutional standards.” United States v. Gordon, 780 F.2d 1165, 1169 (5th Cir. 1986)

(citing United States v. Webb, 747 F.2d 278, 284 (5th Cir. 1984)). “[I]t is generally sufficient

                                                3
      Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 4 of 11



that an indictment set forth the offense in the words of the statute itself as long as the statutory

language unambiguously sets out all the elements necessary to constitute the offense.” Id. (citing

United States v. Stanley, 765 F.2d 1224, 1239-40 (5th Cir. 1985); United States v. Cauble, 706

F.2d 1322, 1351 (5th Cir. 1983); United States v. Montemayor, 703 F.2d 109, 117 (5th Cir.

1983)).

III. Analysis

A. Facial Challenge

          In his Motion, Rue first makes a facial challenge to the constitutionality of the Hobbs

Act, arguing that the “criminaliz[ation] [of] ordinary store robberies” exceeds the limits of

Congress’s authority under the Commerce Clause. (Mot. 14-15, 17-18). In support of that

contention, he relies on United States v. Lopez, 514 U.S. 549 (1995), and United States v.

Morrison, 529 U.S. 598, 608, 617-18 (2000).2 (Mot. 14-15, 17-18).

          The United States Constitution grants to Congress the authority to “regulate Commerce

with foreign Nations, and among the several States, and with Indian Tribes.” U.S. CONST. art.

I, § 8, cl. 3. For much of the twentieth century, “the scales of the federal courts’ Commerce

Clause jurisprudence tipped more towards according to Congress considerably greater latitude in

regulating conduct[,] including federal criminal statutes[,] rather than to maintaining a distinction

between what is truly national and what is truly local.” United States v. Bredimus, 352 F.3d 200,

204-05 (5th Cir. 2003) (quoting United States v. Morrison, 529 U.S. 598, 608, 617-18 (2000);

Lopez, 514 U.S. at 567-68) (internal citations and quotations marks omitted). However, with the

decisions in Lopez and Morrison, the United States Supreme Court ushered in a “new era” of

interstate Commerce Clause jurisprudence. Id. Those cases, and their progeny, have determined

2. While Rue concedes that his argument is foreclosed by Fifth Circuit precedent, he hopes to preserve the issue for
appellate review. (Mot. 6, 18).
                                                          4
     Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 5 of 11



the “outer limits” of Congress’s power to enact legislation, and they provide the framework for

any analysis of interstate Commerce Clause questions. Id. (citing Lopez, 514 U.S. at 556-67);

see also United States v. Ho, 311 F.3d 589, 596 (5th Cir. 2002).

       In Lopez, the United States Supreme Court struck down the Gun-Free School Zones Act

of 1990, § 922(q)(2)(a), which made it a federal crime to possess a gun within 1,000 feet of a

school. Lopez, 514 U.S. at 565-68. In reaching its decision, the Court outlined three broad

categories of activity that Congress may regulate under its interstate commerce power: (1) “the

use of the channels of interstate commerce;” (2) “the instrumentalities of interstate commerce, or

persons or things in interstate commerce, even though the threat may come only from intrastate

activities;” and (3) “activities having a substantial relation to interstate commerce, i.e., activities

that ‘substantially affect’ interstate commerce.” Id. at 558-59. Ultimately, the Court determined

that the Gun-Free School Zones Act exceeded Congressional authority, because it did not

regulate channels or instrumentalities of interstate commerce, and because the regulated activity

at issue, possession of a firearm, did not have a substantial effect on interstate commerce. Id. at

559, 561-65. The Court also emphasized that § 922 did not contain a “jurisdictional element,”

which would have “ensure[d], through case-by-case inquiry, that the firearm possession in

question affect[ed] interstate commerce.” Id. at 561.

       In Morrison, the Court addressed the limits of Congressional power in enacting the

Violence Against Women Act, which created a federal civil remedy to victims of gender

violence. Morrison, 529 U.S. at 601-02. Section 13981, subsection (c) of that Act provided that:

       A person . . . who commits a crime of violence motivated by gender and thus
       deprives another of the right declared in subsection (b) of this section shall be
       liable to the party injured, in an action for the recovery of compensatory and
       punitive damages, injunctive and declaratory relief, and other relief as a court may
       deem appropriate.

                                                  5
     Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 6 of 11



42 U.S.C. § 13981(c) (1994). The Court held that § 13981(c) violated the Commerce Clause,

because, like the Gun-Free School Zones Act in Lopez, it neither regulated the channels or

instrumentalities of interstate commerce, nor proscribed activity that had a “substantial effect” on

interstate commerce. Morrison, 529 U.S. at 626-27. Again, the Court emphasized that the

statute at issue had no “jurisdictional element.” Id. at 613.

       Here, Rue argues that, similarly to the statutes addressed in Lopez and Morrison, the

Hobbs Act is unconstitutional, on its face, because it regulates “plain, vanilla robberies of

stores,” which have “no significant effect on interstate or foreign commerce.” (Mot. 8). The

Fifth Circuit, however, has rejected that argument, explicitly, in United States v. Robinson, 119

F.3d 1205, 1212 (5th Cir. 1997). In Robinson, the defendant brought a facial challenge to the

Hobbs Act, arguing that it does not fit within any of the three categories of permissible

regulation outlined in Lopez. Robinson, 119 F.3d at 1213. The court found that argument to be

“utterly misguided,” however, because it “relie[d] on the unsupported assumption that the Hobbs

Act can be applied constitutionally, if at all, solely under the third [category] of the commerce

power.” Id. Proceeding instead to analyze the Hobbs Act under the first two Lopez categories,

the court held that the statute can be applied constitutionally “in various factual settings.” Id.

The court determined, for example, that a Hobbs Act prosecution for hijacking a truck on an

interstate highway could be upheld, as either a regulation of the channels of interstate commerce,

or as a regulation of the instrumentalities of interstate commerce. Id. In addition, the court

underscored that, in contrast to the statutes that were struck down in Lopez and Morrison, the

Hobbs Act includes an express jurisdictional element. Id. at 1212-13. For those reasons, the

Robinson defendant’s facial challenge was rejected. Id. at 1213-14.



                                                  6
     Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 7 of 11



       Subsequent to the Robinson decision, the Fifth Circuit has repeatedly upheld the facial

validity of the Hobbs Act. See, e.g., United States v. Jennings, 195 F.3d 795, 800 (5th Cir.

1999), cert. denied, 530 U.S. 1245 (2000); United States v. Hebert, 131 F.3d 514, 521 (5th Cir.

1997); United States v. Miles, 122 F.3d 235, 241 (5th Cir. 1997); see also United States v.

Martinez, --- F. App’x ----, 2015 WL 3528319, at *1 n. 1 (5th Cir. 2015). Because Robinson,

and those cases that follow, are binding on this court, Defendant’s facial challenge to the

constitutionality of the Hobbs Act should be denied.

B. “As Applied” Challenge

       Rue also contends that the Hobbs Act is unconstitutional, as applied to him, in this

instance. He argues, in particular, that the factual allegations in the Indictment are insufficient to

satisfy the jurisdictional element of the Hobbs Act, because the statute “does not extend to what

essentially are plain vanilla aggravated robberies under Texas law.” (Mot. 5).

       The Hobbs Act punishes “[w]ho[m]ever in any way or degree obstructs, delays, or affects

commerce or the movement of any article or commodity in commerce, by robbery or extortion.”

18 U.S.C. § 1951(a). The term “commerce,” as defined by the statute, means “all commerce

between any point in a State . . . and any point outsider thereof; all commerce between points

within the same State through any place outside such State; and all other commerce over which

the United States has jurisdiction.” 18 U.S.C. § 1951(b)(3). The definition of “commerce” in

the statute is co-extensive with constitutional limits. United States v. Villafranca, 260 F.3d 374,

377 n. 4 (5th Cir. 2001) (citing United States v. Collins, 40 F.3d 95, 100 (5th Cir. 1994)).

       The two essential elements of a Hobbs Act violation are: “(1) a robbery, act of extortion,

or an attempt or conspiracy to rob or extort; and (2) an interference with interstate commerce.”

United States v. Robinson, 119 F.3d 1205, 1212 (5th Cir. 1997) (citing Stirone v. United States,

                                                  7
     Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 8 of 11



361 U.S. 212, 218 (1960)). To establish the interstate commerce element of a Hobbs Act

violation, the Government need only show that a defendant’s conduct, as alleged, had a de

minimis effect on interstate commerce. United States v. Jennings, 195 F.3d 795, 800 (5th Cir.

1999) (quoting United States v. Miles, 122 F.3d 235, 241 (5th Cir. 1997)); see United States v.

Herrera, 466 F. App’x 409, 418 (5th Cir. 2012) (“Our caselaw provides that illegal activity need

only ‘slightly’ affect interstate commerce to fall under the purview of the Hobbs Act[.]”); United

States v. Martinez, 28 F.3d 444, 445 (5th Cir. 1994) (“The impact on interstate commerce need

not be substantial to satisfy the statutory requirement of the Hobbs Act. If the defendant’s

conduct impacts the flow of interstate products, an effect on interstate commerce occurs.”)

(internal citations omitted).

       Here, the Indictment alleges that Rue robbed two pawn shops, Jet Pawn and Cash

America Pawn, and that he attempted to rob a specialty tobacco store, Mad Dog Smoke Shop.

(Indictment 3-7; Resp. 1-2). The Government claims that, during these crimes, Rue obtained

cash, jewelry, and firearms. (Indictment 3-5). The Government alleges that, through these acts,

Defendant “obstruct[ed], delay[ed], and affect[ed] interstate commerce and the movement of

articles and commodities in commerce by means of robbery[.]” (Id. at 3, 5-7). Jet Pawn is said

to be a Federal Firearms Licensee that is “engaged in the business of the sale of consumer goods

and firearms, which travel in interstate commerce and which affect interstate commerce[;]” Cash

America Pawn is said to be “engaged in the business of the sale of electronics and consumer

goods, which travel in interstate commerce and which affect interstate commerce[;]” and Mad

Dog Smoke Shop is said to be “engaged in the business of the sale of consumer goods, which

travel in interstate commerce and which affect interstate commerce.” (Id. at 1-2). At this stage

of the proceedings, those allegations are sufficient to satisfy the jurisdictional element of the

                                                8
      Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 9 of 11



Hobbs Act. See United States v. Dorsey, No. CR 14-328-CAS, 2015 WL 847395, at *2 (C.D.

Cal. Feb. 23, 2015) (finding that a Hobbs Act indictment was sufficient, because it alleged that

the defendants took money from a Papa John’s pizza restaurant, three gas stations and a Citibank

branch; that the defendants’ actions “obstructed, delayed, and affected commerce . . . by

robbery;” that Citibank is a “national banking chain that operates in interstate commerce;” and

that the inventories of Papa John’s and the three gas stations “traveled in interstate commerce”);

United States v. Phongsavath, No. 14-CR-64, 2015 WL 541575, at *2-3 (E.D. Wis. Feb. 9, 2015)

(finding that the allegations in a Hobbs Act indictment were sufficient to establish jurisdiction

over the defendants’ conduct, because “each count charge[d] the defendants with committing . . .

a robbery, and each count charge[d] the defendants with obstructing, delaying, and affecting

commerce and the movement of articles and commodities in commerce”); see also United States

v. Woodruff, 50 F.3d 673, 676 (9th Cir. 1995) (indictment that set out elements of Hobbs Act was

sufficient, even though it “contained no facts alleging how interstate commerce was interfered

with, and did not state any theory of interstate impact”).

        Nevertheless, Rue argues that the Government cannot prove the jurisdictional element,

with respect to the alleged robberies of the two pawn shops, because pawn shop transactions do

not “typically” involve the movement of goods in interstate commerce. (Mot. 15-16). But

Defendant cites no authority, nor has the court found any authority, for that contention.3 In fact,

other courts have consistently found that pawn shop robberies do come within the purview of the

Hobbs Act. See, e.g., United States v. Stevens, 539 F. App’x 192, 194 (4th Cir. 2013) (holding

that the attempted robbery of a local pawn shop had the requisite minimal effect on interstate

3. In making his “as applied” challenge, Defendant relies heavily on the dissenting opinions in two Fifth Circuit
decisions, United States v. McFarland, 311 F.3d 376 (5th Cir. 2002), and United States v. Hickman, 179 F.3d 230
(5th Cir. 1999). (See Mot. 2-6, 13-14). However, the controlling, en banc opinions in both of those cases expressly
upheld the defendants’ Hobbs Act convictions for robberies of local stores. McFarland, 311 F.3d at 376; Hickman,
179 F.3d at 230.
                                                         9
    Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 10 of 11



commerce to fall within the scope of the Hobbs Act); United States v. Green, 251 F. App’x 189,

191 (4th Cir. 2007) (finding that the attempted robbery of a pawn shop satisfied the jurisdictional

element of the Hobbs Act, because the shop owner testified that he purchased supplies from out-

of-state suppliers; that he sold pawned items to out-of-state entities; and that between thirty and

forty percent of his customers came from across state lines); United States v. Jones, No. CR 411-

001, 2011 WL 3273484, at *1-2 (S.D. Ga. May 2, 2011) (finding that an indictment sufficiently

alleged that a local pawn shop was engaged in interstate commerce).

       In this case, the Indictment sufficiently alleges a nexus between Rue’s alleged criminal

conduct and interstate commerce. For that reason, Defendant’s “as applied” challenge to the

Hobbs Act must fail. Because the Hobbs Act is a constitutional exercise of Congress’s power

under the Commerce Clause, both on its face and as applied to the facts here, Defendant’s

Motion to Dismiss the Indictment for lack of jurisdiction should be denied.

IV. Conclusion

       Accordingly, it is RECOMMENDED that Defendant’s Motion to Dismiss the

Indictment be DENIED.

       The Clerk of the Court shall send copies of the memorandum and recommendation to the

respective parties, who will then have fourteen days to file written objections, pursuant to 28

U.S.C. § 636(b)(1)(c). Failure to file written objections within the time period provided will bar

an aggrieved party from attacking the factual findings and legal conclusions on appeal. See

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).




                                                10
    Case 4:15-cr-00266 Document 87 Filed on 07/29/15 in TXSD Page 11 of 11



       The original of any written objections shall be filed with the United States District Clerk,

P.O. Box 61010, Houston, Texas 77208; copies of any such objections shall be delivered to the

chambers of Judge Lee H. Rosenthal, Room 11535, and to the chambers of the undersigned,

Room 7007.

       SIGNED at Houston, Texas, this 29th day of July, 2015.




                                      MARY MILLOY
                             UNITED STATES MAGISTRATE JUDGE




                                               11
